105 F.3d 648
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Troy R. SUTTON, Plaintiff-Appellant,v.G.M. HINKLE, Warden;  Carolyn M. Parker, Mrs.;  Wonda P.Moore;  J. Golden, Major;  L.D. Coston,Defendants-Appellees.
    No. 96-7052.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 19, 1996.Decided Jan. 3, 1997.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, Senior District Judge.  (CA-95-833-2)
      Troy R. Sutton, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. § 1983 (1994) complaint.  Acting pursuant to 42 U.S.C. § 1997e (1994), the district court ordered Appellant to exhaust administrative remedies, to advise the court within the time allotted by statute of the result of the administrative proceedings, and warned Appellant that failure to comply with the order would result in dismissal of the action.  Appellant failed to comply with this order, and the district court dismissed the case without prejudice upon expiration of the allowed period.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. § 1997e.  Its dismissal of the action, without prejudice, when Appellant failed to comply with its order was not an abuse of discretion.  We therefore affirm the judgment below.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    